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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION AT DAYTON

 In re: Tagnetics, Inc.                                *        Case No. 19-30822
                                                       *
                                                       *        Judge Humphrey
                                                       *        Chapter 7


      TAGNETICS, INC.’S MOTION TO RESCHEDULE EVIDENTIARY HEARING


          Tagnetics, Inc. (“Tagnetics”), by and through its undersigned counsel, hereby submits this

 Motion to Reschedule Evidentiary Hearing, which is currently scheduled to take place on June 25,

 2020 [Doc. #182]. Tagnetics asks that this Court rule on this Motion on an expedited basis with

 the evidentiary hearing currently scheduled 13 days from now. In support of this Motion,

 Tagnetics states as follows:

          1.       The Court ordered the evidentiary hearing in response to the Motion to Hold

 Tagnetics in Criminal Contempt, which was filed by Kenneth Kayser, Ronald Earley, and Jonathan

 Hager (collectively, the “Remaining Petitioning Creditors”).

          2.       The Court ordered the evidentiary hearing before Tagnetics filed its Opposition to

 the Motion to Hold Tagnetics in Criminal Contempt. Tagnetics’ Opposition asserts this Court

 does not have authority to conduct a criminal proceeding or issue criminal sanctions against

 Tagnetics. 1

          3.       This Court should make a determination prior to the date of the evidentiary hearing

 so that Tagnetics knows whether it needs to retain criminal defense counsel. 2


 1
   Tagnetcs filed its Opposition to the Motion to Hold Tagnetics in Criminal Contempt the same day it filed this Motion
 to Reschedule.
 2
   The undersigned counsel is not a criminal defense lawyer and would not represent Tagentics in any criminal
 proceeding.
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         4.       In addition, as explained in Tagnetics’ Motion to Conduct Discovery Related to

 Tortious Conduct Directed at Tagnetics, 3 this proceeding has been used as a tool to repeatedly

 engage in tortious conduct that clearly is intended to inflict substantial economic harm on

 Tagnetics and its affiliate, Compass Marketing, Inc. Tagnetics should be given the opportunity to

 conduct such discovery prior to any evidentiary hearing.

         5.       For the sake of brevity and to avoid redundancy, Tagnetics respectfully refers to

 and incorporates by reference its Opposition to the Motion to Hold Tagnetics in Criminal

 Contempt and its Motion to Conduct Discovery Related to Tortious Conduct Directed at Tagnetics.

         WHEREFORE, Tagnetics respectfully requests that this Court rule on this Motion on an

 expedited basis, grant this Motion, reschedule the evidentiary hearing currently scheduled for June

 25 and, prior to rescheduling the evidentiary hearing, (1) issue a ruling on whether this Court will

 be conducting a hearing to determine whether criminal sanctions should be issued against

 Tagnetics; and (2) grant Tagnetics sufficient time to conduct discovery related to the tortious

 conduct it has been the subject of in connection with this proceeding.


 Dated: June 12, 2020                                 Respectfully submitted,

                                                             /s/ Stephen B. Stern
                                                      Stephen B. Stern, Admitted Pro Hac Vice
                                                      KAGAN STERN MARINELLO & BEARD, LLC
                                                      238 West Street
                                                      Annapolis, MD 21401
                                                      (410) 216-7900 – Telephone
                                                      (410) 705-0836 - Facsimile
                                                      stern@kaganstern.com (email)

                                                      Counsel for Alleged Debtor
                                                      Tagnetics, Inc.


 3
   Tagnetics filed its Motion to Conduct Discovery Related to Tortious Conduct Directed at Tagnetics the same day as
 it filed this Motion to Reschedule.


                                                         2
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2020, a copy of the foregoing Notice of Appeal was served
 (i) electronically on the date of filing through the Court’ s ECF System on all ECF participants
 registered in this case at the email address registered with the court and (ii) electronically by email
 to Kenneth W. Kayser. (drkwkayser@gmail.com), Ronald E. Early (ronald.earley1@gmail.com)
 and Jonathan Hager (pufferboater@gmail.com), and (iii) by First Class U.S. Mail on June 12,
 2020 to Kenneth Kayser and MaryAnne Wilsbacher at the addresses below, and (iv) FedEx to
 Ronald Earley and Jonathan Hager at the addresses below:

 Kenneth W. Kayser
 PO Box 115
 Catawba, VA 24070

 Ronald E. Early
 6429 Winding Tree Drive
 New Carlisle, OH 45344

 Jonathan Hager
 842 Paint Bank Road
 Salem, VA 24153

 MaryAnne Wilsbacher
 Office of the United States Trustee
 170 North High Street
 Suite 200
 Columbus, Ohio 43215


                                                                /s/ Stephen B. Stern
                                                                Stephen B. Stern




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